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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA DISTRICT

CHRISTOPHER WIEST
25 Town Center Blvd, Ste. 104
Crestview Hills, KY 41017
513-257-1895

Plaintiff

V.

HON. JOHN P. ROTH

1670 Air Force Pentagon
Washington, DC 20330-1670
AND

TERRY L. BULLARD

Suite W-1683

27130 Telegraph Rd

Quantico, VA 22134

AND

HON. CHRISTOPHER WRAY
935 Pennsylvania Avenue, NW
Washington, D.C. 20535-0001
AND

United States of America

c/o USDOJ/Attorney General and

US Attorney’s Office, DCD

Defendants

Case: 1:21—cv-01578

Assigned To : McFadden, Trevor N.
Assign. Date : 6/4/2021

Description: FOIA/Privacy Act (I-DECK)

PLAINTIFFS VERIFIED COMPLAINT FOR DECLARATORY, INJUNCTIVE, AND

ANCILLARY RELIEF

1. Plaintiff is a resident of Crestview Hills, Kentucky.

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Defendant Terry L. Bullard is a Brigadier General in the United States Air Force, and the
current commander of the Air Force Office of Special Investigations (‘AFOSI”). He is
sued in his official capacity only.

Defendant, Hon. John P. Roth is the current acting Secretary of the United States Air
Force (“SECAF”). He is sued in his official capacity only.

Defendant Christopher Wray is the current Director of the Federal Bureau of
Investigations. He is sued in his official capacity only.

Defendant the United States of America, is the sovereign, and, as explained herein, is
sued pursuant to United States Code for the relief sought herein.

JURISDICTION AND VENUE

Subject matter jurisdiction over the claims and causes of action asserted by Plaintiffs in
this action is conferred on this Court pursuant to 5 U.S.C. § 552a(g)(1), 18 U.S. Code §
925A and 28 CFR 25.10(f), 28 U.S.C. §1331, 7 U.S.C. 702, et. seq., 28 U.S.C. §§ 2201
and 2202, and other applicable law.
Venue in this District and division is proper pursuant to 5 U.S.C. 552a(g)(3), 18 U.S.
Code § 925A, 28 U.S.C. §1391, and other applicable law. Furthermore, the first named
Defendant is located in this division.

FACTS

Plaintiffs interactions with the Air Force, 1999 to 2005

On or about March 13, 1999, Plaintiff, then an Air Force Academy cadet in his Second
Class/Junior year, was tried and convicted at a hotly contested general court martial of a

charge under Article 134, UCMJ (10 USC 934) related to an allegation of computer
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“hacking,” in contravention of then 18 USC § 1030. At all times relevant hereto, Plaintiff
has denied any culpability in relation to the charged offense.

The case was appealed through several layers of review within the military justice
system, and, on March 16, 2004, the United States Court of Appeals for the Armed
Forces reversed the findings and sentence, in a case styled United States v. Wiest, 59 M.J.
276 (CAAF 2004). See Exhibit A. This had the legal effect of vacating and rendering
null and void the March 13, 1999 conviction and sentence.

On or about September 27, 2004, the convening authority, the Air Force Academy’s
Superintendent, determined that retrial was impractical under provisions of the UCMJ,
dismissed the charge and specification with prejudice, and directed that “all rights
privileges and property of which the accused has been deprived ... be restored.” See
Exhibit B; see, also, 10 USC § 875.

Meanwhile, on or about October 6, 2004, Plaintiff instituted a lawsuit in the Eastern
District of Virginia, against the investigating Air Force OSI case agent, who had, in the
meantime, left the service, and trumpeted in his new found computer security business’
website certain false statements about the Plaintiff, including statements about the
Plaintiff's alleged guilt for the computer hacking. Wiest v. E-Fense, et. al., 1:04-cv-
01201. That suit made allegations about serious agent misconduct, subordination of
perjury, and other malfeasance. That case agent entered into a consent order on or about
March 14, 2005, in which he stipulated that the undersigned did not commit any of the
alleged offenses.

In the fall and/or spring of 2004/2005, the Air Force then afforded the Plaintiff the

opportunity to return to the Air Force Academy and begin and complete his First
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Class/senior year and then graduate. However, due to the passage of time, Plaintiff had,
by that point in time, completed his undergraduate degree, further completed a law school
degree, and, as a consequence, the Plaintiff, through Counsel, reached an agreement with
the Air Force Academy’s Staff Judge Advocate Office in which he could and would
tender his resignation instead, and be relieved from any service or monetary commitment,
notwithstanding the fact that Plaintiff had completed his Second Class/junior year, which
would typically incur a service commitment.

Plaintiff tendered the agreed-to resignation, and, for its part, on May 31, 2005, the Air
Force honorably discharged the Plaintiff. See Exhibit C.

Plaintiff’s firearm matters

Sometime between 2005 and 2011 (the exact date, being in the past, is unknown to the
Plaintiff), the Plaintiff attempted to purchase a firearm, and had his background checked
via the National Instant Criminal Background Check System (“NICS”).

At the point in time that Plaintiff attempted to purchase a firearm, Plaintiff learned that
the Air Force Office of Special Investigations (“AFOSI”) had inputted into NICS a
felony conviction and dishonorable discharge related to the aforementioned matters with
the Air Force.

Plaintiff immediately took an appeal of the NICS determination, and also completed the
Voluntary Appeal File (“VAF’’) process with the Federal Bureau of Investigation, to help
ensure that there would never be a denial in the future. See, a/so, 28 C.F.R. Part 25.9.
As a consequence of this process, and upon information and belief, AFOSI and/or the

Federal Bureau of Investigations entered additional information into NICS and other
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database(s), reflecting the fact that the conviction had been overturned and the charges
dismissed.

In any event, after several months, the record was corrected with NICS.
Notwithstanding this past discrepancy correction process, sometime in October, 2020,
AFOS] again entered information into NICS and/or other federal databases, falsely
reflecting a felony conviction and dishonorable discharge related to the aforementioned
matters with the Air Force.

Plaintiff learned of this when the Kentucky State Police contacted the Plaintiff, and
revoked his concealed carry license in the spring of 2021, and in that correspondence
reflected the fact that it was based on a record entry by the AFOSI. See, a/so, Exhibit D.
On April 19, 2021, Plaintiff attempted to appeal these actions by AFOSI and seek
expungement by that agency. See, also, Exhibits E-1 and E-2.

As of May 25, 2021, AFOSI failed to correct the Plaintiff's records, even though it is
required by the Privacy Act to do so.

Plaintiff knows that the AFOSI has failed in this regard because, on May 25, 2021,
Plaintiff attempted to purchase a firearm, and, on that date, had a NICS denial, which
prevented him from purchasing the firearm. See, also, Exhibit F.

Plaintiff undertook an administrative appeal of that matter on May 25, 2021, which has
not been adjudicated at present.

However, as of the filing of this Complaint, due to the misfeasance and malfeasance of
AFOSI, whom Defendants Bullard and Roth are responsible, multiple records within the

Air Force systems and NICS remain erroneous and false.
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CLAIMS FOR RELIEF

COUNT I - Privacy Act (5 USC 552a)
Plaintiff reincorporates the foregoing paragraphs as if fully written herein.
Plaintiff is an “individual” within the meaning of 5 U.S.C. 552a(a)(2).
Pursuant to 5 U.S.C. 552a(d)(2), Defendants have failed, within 10 days (excluding
Saturdays, Sundays, and legal public holidays) of receipt of a request, to promptly make
correction of records pertaining to the Plaintiff as required by that section, or to inform
Plaintiff of the refusal to correct same;
Pursuant to 5 U.S.C. 552a(d)(3), Defendants have failed, to complete a review of
Plaintiffs records and request for amendment within thirty days, have failed to make a
final determination within that period, have failed to demonstrate good cause shown for
any delay beyond that period as required by that section.
Pursuant to 5 U.S.C. 552a(d)(4), Defendants have permitted releases to be made that are
not in compliance with that section, including reflecting the Plaintiffs disagreement with
same.
Pursuant to 5 U.S.C. 552a(e)(1), Detendants have failed to maintain in their records
information relating to the Plaintiff as is relevant and necessary to accomplish a purpose
of the agency required to be accomplished by statute or by executive order of the
President.
Pursuant to 5 U.S.C. 552a(e)(2), Defendants have failed to collect information to the
greatest extent practicable directly from the Plaintiff when the information may result in
adverse determinations about Plaintiff's rights, benefits, and privileges under Federal

programs.
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Pursuant to 5 U.S.C. 552a(e)(5), Defendants have failed to maintain all records which are
used by the agency in making any determination about Plaintiff with such accuracy,
relevance, timeliness, and completeness as is reasonably necessary to assure fairness to
Plaintiff in the determination.

Pursuant to 5 U.S.C. 552a(e)(6), prior to disseminating any record about Plaintiff to any
person other than an agency, unless the dissemination is made pursuant to subsection
(b)(2) of this section, make reasonable efforts to assure that such records are accurate,

complete, timely, and relevant for agency purposes.

. Pursuant to 5 U.S.C. 552a(e)(8), Defendants have failed to make reasonable efforts to

serve notice on Plaintiff when any record on Plaintiff is made available to any person
under compulsory legal process when such process becomes a matter of public record.
Pursuant to 5 U.S.C. 552a(g)(1)(A), (C), and (D), Plaintiff brings a civil action under that
section, for, among other things, the relief set forth in 5 U.S.C. 552a(g)(2).

Plaintiff therefore seeks, pursuant to 5 U.S.C. 552a(g)(2), (4), and (5), the following
relief: (1) amendment or expungement of records involving the Plaintiff and described
herein under 5 U.S.C. 552a(g)(2); (ii) making a finding that the agency acted in a manner
which was intentional or willful and award actual damages in the amount of not less than
$1,000, attorney fees, and costs under 5 U.S.C. 552a(g)(4).

Plaintiff explicitly requests that this Court direct that any information related to the past
charges be completely expunged, given the repeat issues that the Plaintiff has suffered,
and that injunctive relief be entered prohibiting any future false entries.

COUNT II — Illegal Firearm Denial (18 USC 925A; 28 CFR 25.10)

Plaintiff reincorporates the foregoing paragraphs as if fully written herein.
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Plaintiff was denied a firearm on May 25, 2021, pursuant to subsection (s) or (t) of 18
U.S.C. 922.

Plaintiff was denied the firearm due to the provision of erroneous information relating to
Plaintiff by the national instant criminal background check system established under
section 103 of the Brady Handgun Violence Prevention Act.

Plaintiff was not prohibited from receipt of a firearm pursuant to subsection (g) or (n) of

18 U.S.C. 922.

. Plaintiff therefore seeks an order directing that the erroneous information be corrected

and that the transfer be approved as permitted under 18 U.S.C. 925A, and, pursuant to 18
U.S.C. 925A, seeks reasonable attorney fees and costs.
Plaintiff further seeks such relief pursuant to 28 CFR 25.10.

COUNT I — Declaratory and Injunctive Relief (10 U.S.C. 875)

Plaintiff reincorporates the foregoing paragraphs as if fully written herein.

Pursuant to the directives of the convening authority, and 10 U.S.C. 875, which states
that “all rights, privileges, and property” shall be restored.

The willful and repeated improper and erroneous entry into federal databases of alleged
convictions and dismissals/dishonorable discharges contravenes the rights contained in
10 U.S.C. 875.

Plaintiff therefore seeks declaratory relief and injunctive relief, pursuant to 28 U.S.C.
2201 and 2202, directing that the relief be afforded to Plaintiff under 10 U.S.C. 875 be
carried out, including, as is relevant, complete expungement of any references to charges,

convictions, or dismissals or dishonorable discharges, and the entry of permanent
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injunctive relief prohibiting AFOSI, Bullard, and Roth, in their official capacities, from
any future entry of such erroneous information.

Plaintiff further states that, pursuant to 28 U.S.C. 2412, that Plaintiff is a party as defined
in 28 U.S.C. 2412(d)(2)(B), that the position of Defendants is not substantially justified,
and that Plaintiff is therefore entitled to his reasonable attorney fees and costs for this
action.

COUNT IV — Declaratory and Injunctive Relief (Constitutional Violations — Second and
Fifth Amendments)

Plaintiff reincorporates the foregoing paragraphs as if fully written herein.

The actions complained of herein, have not afforded the Plaintiff due process, including
the right to be heard in a timely manner and in a timely fashion as to his records, and thus
violate the Fifth Amendment of the United States Constitution.

The actions complained of herein, which have and continue to have the ability of denying
the Plaintiff access to firearms, for which he is lawfully able to bear and carry, including
for purposes of personal defense and defense of the home, thus violate the Second
Amendment of the United States Constitution.

Plaintiff therefore seeks declaratory relief and injunctive relief, pursuant to 28 U.S.C.
2201 and 2202, that Defendants have and continue to violate the Fifth and Second
Amendment rights of the Plaintiff.

Plaintiff further states that, pursuant to 28 U.S.C. 2412, that Plaintiff is a “party” as
defined in 28 U.S.C. 2412(d)(2)(B), that the position of Defendants is not substantially
justified, and that Plaintiff is therefore entitled to his reasonable attorney fees and costs

for this action.
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WHEREFORE, Plaintiff demands:

e Judgment against Defendants, as prayed for within the foregoing Complaint, including
directives for record correction and expungement, directives that firearm transters be
permitted, and declaratory and injunctive relief; and

e That Plaintiff be awarded his reasonable attorney fees and for the costs of this action; and
e That Plaintiff be awarded damages as prayed for; and

e Such other relief as this Court may find just and proper.

Respectfully submitted,

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